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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


MARTIN J. WALSH,                                         )
SECRETARY OF LABOR,                                      )
UNITED STATES DEPARTMENT OF LABOR,                       )   Civil Action No. 2:18-cv-01608-PJP
                                                         )
               Plaintiff,                                )
                                                         )   Honorable William S. Stickman
       v.                                                )
                                                         )
COMPREHENSIVE HEALTHCARE                                 )
MANAGEMENT SERVICES, LLC, et al.                         )
                                                         )
               Defendants.                               )



                            PLAINTIFF’S WITNESS LIST - PHASE I

       Pursuant to the Court’s Pretrial Order dated July 26, 2021 (Dkt. 235), Plaintiff Martin J.

Walsh, Secretary of Labor, United States Department of Labor, submits the following witnesses

with offer of proofs explaining the substance of the witness’ testimony. 1
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Plaintiff will call:
1. SEIU Representatives
   Witnesses
       1) Matthew Yarnell
       2) Carlos Rivera

    Offer of Proof: The following witnesses, who at all times relevant hereto, are the
    representatives for the SEIU, have personal, first-hand knowledge regarding Defendants’
    business organization, operations, and compensation policies and practices. These witnesses
    will testify at trial that:
        1) Defendants (1) Maybrook-Kade, (2) Murrysville Rehabilitation & Wellness Center,
            (3) North Strabane Retirement Village, (4) North Strabane Rehabilitation and
            Wellness Center, LLC, (5) Mt. Lebanon Rehabilitation & Wellness Center, (6)
            Brighton Rehabilitation and Wellness Center, (7) Cheswick Rehabilitation and
            Wellness Center, LLC, (8) Maybrook-C Evergreen Opco, LLC, (9) Maybrook-C

1
 The following offers of proof should be considered in a fashion consistent with Fed. R. Evid.
403. See Hines vs. Consolidated Rail Corp., 926 F.2d 262 (3d Cir. 1991) (finding that excluding
evidence at the pre-trial stage is an extreme measure).
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           Silver Oaks Opco, LLC, (10) Maybrook-C Briarcliff Opco, LLC, and (11)
           Monroeville Rehabilitation & Wellness Center, operate nursing and rehabilitation
           long-term care facilities throughout western Pennsylvania, which are parties in a
           collective bargaining agreement with the SEIU.

       2) Defendant Sam Halper has an ownership interest in each of the above named, SEIU
          Facility Defendants and serves as the Chief Executive Officer (“CEO”) for each
          Facility Defendant.

       3) Defendant Sam Halper negotiated and developed all SEIU Facility Defendants
          Collective Bargaining Agreements (“CBAs”) and determined the final interpretations
          of their provisions after the acquisitions and on a continual basis.

       4) CBAs and Employee Handbooks collectively govern every aspect of compensation,
          work conditions, and disciplinary actions at each SEIU Facility Defendant.

       5) SEIU bargaining unit members made numerous complaints (formal and informal) and
          grievances regarding Defendants’ collective and individual failures to comply with
          meal break policies, bonuses, and shift differentials.


2. Employee Witnesses
     Testimony from some or all of the following current or former employees of Defendants.
     In providing the following names, Plaintiff makes no representation that the U.S.
     Department of Labor (“DOL”) spoke to any specific persons during the course of the
     investigation, nor does Plaintiff otherwise identify any of them as having provided
     information to DOL. Providing these names is not intended to be a waiver of the
     informer’s privilege with respect to the identity of any person who was interviewed or
     provided information during the course of the investigation. Plaintiff reserves the right to
     supplement this list with names of witnesses who are otherwise protected by the
     informer’s privilege.

       A. Management
          Witnesses
             1. Aaron Humphrey                                     13. Christopher Richmond
             2. Alexandra Agostinone                               14. Corey Gilbert
             3. Amanda Bair                                        15. Dana May
             4. Anthony Molinaro                                   16. Dawn Hall
             5. Ashley Ifft                                        17. Dayna Wilson
             6. Bradley Alan Berardinelli                          18. Diana Hunter
             7. Brenda Hays                                        19. Eva Hamilton
             8. Brittany Edgerton                                  20. Gloria O'Brien
             9. Cami Dzak                                          21. Gule Kahn
             10. Catherine Matlack                                 22. Haddessah Devereaux
             11. Celine David                                      23. Harry Ross
             12. Chastity Wagner                                   24. Harvey Speer

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       25. Heather Russell                                 40. Melanie Adley
       26. James Martis                                    41. Mellodie Kaszowski
       27. Janice Kelly                                    42. Mordechai Singer
       28. Janice Rosales                                  43. Paul Fulton
       29. Joseph Menachem                                 44. Sean Richards
       30. Kim Myers                                       45. Shannon Daum
       31. Kimberly Bell                                   46. Steven Hefter
       32. Kimberly Wetzel                                 47. Tracey Sojak
       33. Kristine Smith                                  48. Tracie Kern
       34. Lois Snyder                                     49. Tyffini Balor
       35. Mark Vollmer Sr.                                50. Vickie Carlisle
       36. Martha Stillwagon                               51. Victoria Cripps-Sauer
       37. Mary Jean Pratt                                 52. Virginia Adams
       38. Mary Popovich                                   53. Virginia Moody
       39. Megan Swan

Offer of Proof: The following witness, who at all times relevant hereto, were employed
by Defendants as facility level management and have first-hand knowledge of
Defendants’ centralized operations, practices, and procedures and Sam Halper’s
significant operational control and involvement with each Facility Defendant. These roles
included: Admissions Directors; Business Office Managers; Human Resource Directors;
MDS Coordinators (RNAC); Medical Records Directors; Human Resources Personnel;
RN Educators; Social Work Directors; Assistant Directors of Nursing; Assistant
Administrators; Dietary Supervisors; Directors of Activities; Directors of Nursing;
Housekeeping Supervisors; Maintenance Supervisors; Rehabilitation Coordinators
(Director of Rehab); RN Supervisors; and Unit Directors. These witnesses will testify at
trial that:

1) Defendants operate nursing and rehabilitation long-term care facilities throughout
western Pennsylvania through a large, associated network of separately established LLCs
related through unified operation, common control, and ownership.

2) Defendants regularly act in concert with one another, by sharing control over, among
other things, facility operations, human resource management, and payroll/accounting
functions.

3) Facility Defendants are commonly owned and have centralization of ownership and
unified operation through Defendants Sam Halper and CHMS.

4) Corporate Defendants have overlapping officers, directors, executive, and managers,
including but not limited to: Defendant Sam Halper, Ben Halper, Ephram Lahasky, David
Gast, Benjamin Lando, Joshua Farkovits, Benjamin Landa, Abraham Peckham, John
Reichard, Doug Hoffman, David Ferraro, and Margaret Zapor.

5) Defendant Halper has an ownership interest in each of the Facility Defendants and
Defendant CHMS Group.

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6) Defendant Halper serves as the Chief Executive Officer (“CEO”) for each Facility
Defendant.

7) Defendant Halper consistently exercises significant operational control over Defendant
CHMS Group and the Facility Defendants.

8) Defendant Halper operated and managed the day-to-day operations of Defendants,
including, but not limited to, hiring and firing employees, setting the rate of payment, and
setting discipline policies.

9) In consultation with, and at the direction of Defendants CHMS Group and Defendant
Halper, Facility Defendants plan and host meetings and trainings that employees are
required to attend.

10) Facility Defendants share supplies and equipment with one another.

11) Facility Defendants’ computer software and telephone systems are interconnected.

12) Defendants regularly discuss balancing patient census with staffing needs at the
Facility Defendants, including coordinating resident referrals and coordinating personnel
staffing.

13) Defendants CHMS Group and Sam Halper identify personnel needs across Facility
Defendants, and offer positions to employees without traditional formalities, such as
requiring an application, performing interviews, or requiring the completion of new hire
paperwork, or facility orientations.

14) Facility Defendants share common, and in certain circumstances, identical and/or
overlapping management personnel.

15) Defendants hired Multi-Facility (PRN or “as needed”) employees for the express
purpose of having them work at two or more Facility Defendants.

16) Multi-Facility employees’ schedules are coordinated by Defendant CHMS Group’s
regional representatives, who oversee the operations at each Facility Defendant.

17) From at least January 2015 to at least January 2019, Defendant CHMS Group not
only maintained exclusive payroll and accounting responsibility for Facility Defendants,
but also had a division that that was responsible for managing and overseeing the day-to-
day operations of the Facility Defendants through “Consultants.”

18) Defendant CHMS Group’s regional consulting team served as the bridge between
Facility Defendants, and actively supported and required communications between each
facility’s administrators and department heads to ensure successful operations of the
company as a whole.

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19) In January 2019, Defendant CHMS Group reorganized their business structure and
separated the consultant division from the company to form a separate, subsidiary entity:
WPAC.

20) Despite the separation of the consulting division, the Consultants have and continue
to support and manage the day-to-day operations of the Facility Defendants, including
determining the rate and method of pay for employees, hiring and firing employees,
monitoring staffing levels, formulating recruitment plans, overseeing facility
relationships with contractors and outside entities, training and supervising employees,
developing and promulgating performance standards, developing and directing work
practices and policies, and developing and directing the implementation of payroll
policies.

21) Facility Defendants have no autonomy to control the terms and scope their
relationships with Defendant CHMS Group; only Defendant Sam Halper could amend
the terms and scope of such relationships.

22) Defendants Sam Halper and CHMS Group negotiated and developed all Facility
Defendant CBAs and employee handbooks and determined the final interpretations of
their provisions after the acquisitions and on a continual basis.

23) Defendant CHMS Group has been responsible for interpreting the CBAs and
employee handbooks when issues arose at each Facility Defendant.

24) Defendants Sam Halper and CHMS Group developed, implemented, and enforced the
payroll policies and procedures that dictated how, when, and how much Defendants
would pay employees at each Facility Defendant.

25) Defendants CHMS Group and Halper manage and control all payroll functions and
human resource decisions regarding health benefits, PTO time, FMLA, and rates of pay
for the Facility Defendants.

26) Defendant CHMS Group retains sole control of various payroll and employment
records for the Facility Defendants, including making uniform, final decisions regarding
employee compensation and benefits.

27) When disputes arise between Facility Defendants and Defendant CHMS Group over
interpretations of the CBAs and/or the employee handbooks, Defendant CHMS Group’s
interpretation prevailed; only Defendant Sam Halper could override Defendant CHMS
Group’s interpretations.

28) Facility Defendant supervisors and assistant supervisors do not have the authority or
responsibility to enforce any policies related to pay or hours worked.

29) Facility Defendant supervisor and assistant supervisors do not have final decision-

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making or the independent authority to discipline employees or set pay rates.

30) Facility Defendant Activities Directors/Director of Activities, RN Educators, Dietary
Supervisors, Human Resource Personnel do not have the independent authority to hire or
fire employees or make other changes to employment status.

31) Due to the amount of oversight by Defendants CHMS Group and Sam Halper, there
is little ability for Facility Defendant Director of Social Services/Social Work Directors,
Admissions Directors, Human Resource Directors, Human Resource Personnel, MDS
Coordinators (RNAC), Medical Records Directors, Activities Directors, Business Office
Managers to exercise discretion or independent judgment in the performance of their
duties or oversight of their departments.

32) Facility Defendant Admissions Directors, Human Resource Directors, Human
Resource Personnel, MDS Coordinators (RNAC), Medical Records Directors, Activities
Directors, Business Office Managers, RN Educators, Directors of Nursing Assistant
Directors of Nursing, Assistant Administrators, Dietary Supervisors, Housekeeping
Supervisors, Maintenance Supervisors, RN Supervisors, Unit Directors do not have
authority to set corporate level policy regarding any business function.

33) Facility Defendant Directors of Social Services, Social Work Directors, Admissions
Directors, Human Resource Directors, Human Resource Personnel, Medical Records
Director, Activities Directors, RN Educators, Directors of Nursing Assistant Directors of
Nursing, Directors of Nursing, RN Supervisors, Unit Directors do not oversee a budget
and are required to seek approval for purchases.

34) Facility Defendant Human Resource Directors, Human Resource Personnel, Business
Office Manager, RN Educators, Directors of Nursing Assistant Directors of Nursing
Assistant Administrators, Dietary Supervisors, Directors of Nursing, Housekeeping
Supervisors, Maintenance Supervisors, RN Supervisors, Unit Directors are unable to
commit Defendants to any contracts without express oversight and approval by
Defendants CHMS Group and Sam Halper.

35) Facility Defendant Human Resource Directors, Human Resource Personnel, Business
Office Managers, RN Educators, Directors of Nursing Assistant Directors of Nursing,
Assistant Administrators, Directors of Nursing, Housekeeping Supervisors and
Maintenance Supervisors, RN Supervisors, Unit Directors are unable to correct time
punches without the oversight and approval of Defendant CHMS Group.

B. Clinicians and Operational/Administrative Support
   Witnesses:
       1. Angela Banner                                      6. Consuella McDonald
       2. Bobbijo Faylor                                     7. Dametria Archangel
       3. Carol Bevelheimer                                  8. David Fleming
       4. Chilufya Nibbs                                     9. Debra Huston
       5. Christopher Anastsio                               10. Dellesha Edwards

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       11. Dennis Garrett                                     32. Melleeke Felder
       12. Emily Aletto                                       33. Mellodie Kaszowski
       13. Heather Warner                                     34. Michael Barnhart
       14. Janice Rosales                                     35. Michael Thomas
       15. Jeffrey Ivory                                      36. Mordechai Singer
       16. Joseph Menachem                                    37. Orill Moses
       17. Karena Sfakianakis                                 38. Paul Fulton
       18. Kelcie Toth                                        39. Salvatore Boffoli
       19. Kim Myers                                          40. Sean Richards
       20. Kimberly Bell                                      41. Shannon Daum
       21. Kimberly Wetzel                                    42. Simplice Noyja
       22. Kristine Smith                                     43. Steven Hefter
       23. Lisa Bizon                                         44. Suzanne Gaston
       24. Lisa Platko                                        45. Sylvester Carter
       25. Lois Snyder                                        46. Tracey Sojak
       26. Mark Vollmer Sr.                                   47. Tracie Kern
       27. Martha Stillwagon                                  48. Tyffini Balor
       28. Mary Jean Pratt                                    49. Vickie Carlisle
       29. Mary Popovich                                      50. Victoria Cripps-Sauer
       30. Megan Swan                                         51. Virginia Adams
       31. Melanie Adley                                      52. Virginia Moody

Offer of Proof: The following witnesses, who at all times relevant hereto, were employed
by the Facility Defendants, have first-hand knowledge of Defendants’ centralized
operations, practices, and procedures through their interactions with each Facility
Defendant, CHMS Group, and Defendant Sam Halper’s significant operational control
and involvement with each Facility Defendant. These witnesses’ roles included:
registered nurses, licensed practical nurses, certified nursing assistants, maintenance staff,
housekeeping and laundry staff, dietary aides, physical therapists, speech pathologists,
social service coordinators, and administrative staff (e.g., receptionists, billing, payroll).
These witnesses will testify at trial that:

1) Defendants CHMS Group and Sam Halper identify personnel needs across Facility
   Defendants and offer positions to employees without traditional formalities, such as
   requiring an application, performing interviews, or requiring the completion of new
   hire paperwork, or facility orientations.

2) Defendants treated clinicians and operational staff as a common pool available to all
   Facility Defendants, who work at multiple Facility Defendants during the relevant
   period of investigation.

3) Defendants permitted employees to transfer from one Facility Defendant to another,
   sometimes retaining the same job title and duties, other times transferring into new
   roles.




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       4) Defendants CHMS Group and Sam Halper retained and exercised authority to hire
          and fire Facility Defendants’ employees by, among other things: (a) identifying
          Defendants’ personnel needs; (b) extending formal and informal offers of
          employment; (c) retaining final approval over proposed hires; (d) setting employee
          compensation, including rates of pay, and; (e) determining employee classifications
          under the Fair Labor Standards Act (“FLSA” or “Act”).

       5) Defendants CHMS Group and Sam Halper promulgated work rules, assignments, and
          conditions of employment. They repeatedly overruled or preempted day-to-day
          decisions by the witnesses and other Facility Defendant management employees,
          which prevented them from exercising discretion or independent judgment in their
          assigned roles. This control extended to, among other things, the Facility Defendants’
          ability to: (a) conduct business functions; (b) create operational budgets or make
          related purchases without prior approval; (c) commit to contracts; (d) correct
          employee time records; (e) authorize supplemental compensation to employees
          working additional hours; (f) make and implement human resource decisions,
          including those concerning health benefits, PTO, and FMLA leave; (g) implement
          payroll policies and practices; (h) administer payroll; (i) correct payroll records; (j)
          perform other administrative functions, such as accounting, accounts receivable, and
          accounts payable, and; (k) set and interpret corporate policy, such as that contained in
          CBAs and employee handbooks.

       6) Defendants CHMS Group and Sam Halper exerted significant control over the
          Facility Defendants’ daily operations by, among other things: (a) maintaining regular
          and close supervision of the Facility Defendants’ operations; (b) coordinating
          schedules for employees who simultaneously worked for multiple Facility
          Defendants; (c) overriding or preempting routine decisions by Facility Defendant
          personnel; (d) maintaining custody of, and limiting access to, the Facility Defendants’
          time and payroll records, and; (e) overseeing adjustments to time records and
          preventing the Facility Defendants from making any such adjustments without
          approval.

Plaintiff may call:
1. Department of Labor Investigators
   Witnesses:
       1. Cara Merritt                                      11. Laurie Mangicaro
       2. Crystal Bibri                                     12. Mario Bombardiere
       3. Cynthia Decos                                     13. Michael Shuey
       4. Daniel Avolia                                     14. Miller R. Honeycutt
       5. David Daube                                       15. Nicholas Barron
       6. David Havrilla                                    16. Rocco Angelo
       7. Dawn Young                                        17. Tameka Burrell
       8. Desiree Woodard                                   18. Tanisha Russ
       9. James Taylor                                      19. Tracy Coon
       10. Justin Williams                                  20. Tricia DeSanti-Boehm



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Offer of Proof: The following witnesses, who at all times relevant hereto, were investigators
with the Wage and Hour Division of the United States Department of Labor (“WHD”), have
personal, first-hand knowledge regarding the employment relationship between Defendants
and Schedule A employees. These witnesses will testify at trial that:

   1) WHD investigated Defendants’ compliance with the Act, beginning in December
      2014, within the normal course of business in the performance of their functions as
      WHD investigators.

   2) WHD interviewed employee witnesses and contemporaneously prepared written
      statements from information obtained directly from these employees about current
      and former employees. The employee statements address the employment
      relationship between Defendants and their employees. Specifically, the statements
      pertain to employees’(1) job titles; (2) circumstances of their hiring; (3) job duties
      and responsibilities; (4) interaction with and supervision by Defendants; (4) rates and
      methods of pay; (5) other terms and conditions of their employment. Such statements
      also address Defendants’ business organization and operations.

   3) WHD obtained documents from informants that included, but were not limited to:
      (a) the establishment and maintenance of Defendants’ corporate structure; (b)
      Defendants’ performance of residential skilled nursing, rehabilitation, and assisted
      living facilities services within the Commonwealth of Pennsylvania, including
      revenue and profit earned therefrom; (c) an overview of Defendants’ workforce,
      including organizational charts for each Defendant and records identifying
      management and other key personnel; (d) Defendants’ solicitation, interview, hiring,
      training, oversight, discipline, and termination of employees; (e) Defendants’
      classifications of employees for compensation and other purposes, including those
      made related to the Act; (f) Defendants’ maintenance of formalized policies and
      practices, including Employee Handbooks; (g) Defendants’ actually implemented
      policies and practices; (h) Defendants’ administration of human resource, payroll, and
      accounting functions; (i) Defendants’ payroll and timekeeping records; (j)
      Defendants’ inability or unwillingness to provide sufficient resources to conduct
      normal operations; (k) Defendants’ response (or lack thereof) to employee
      complaints, including those related to lack of operational resources, employees’
      inability to take breaks during working hours, incorrect time records, and missing
      compensation, and; (l) Defendants’ maintenance of (or failure to maintain)
      operational records, including payroll and timekeeping records; (m) the extent and
      nature of Defendant Sam Halper’s and Defendant CHMS Group’s authority, control,
      and involvement in Defendants’ operations.

   4) WHD also obtained documents and other information indicating Defendant CHMS
      Group’s significant control over the Facility Defendants’ operations. These
      documents showed, among other things, CHMS Group’s control over the Facility
      Defendants’ payroll, ability to correct employee time and pay records, and ability to
      set and implement corporate policy as to employee leave.



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      5) WHD gathered information about Defendant Halper’s involvement in Defendants’
         day-to-day operations. This included employee hiring and firing, setting employee
         compensation, centralizing control over multiple aspects of Defendants’ operations,
         setting work rules and other conditions of work, and directing employees’ work.

2. Facility Defendant 30(b)(6) Representatives:
   Witnesses:
      1) John Reichard: New Wilmington, Brighton, Maybrook-Whitecliff, Maybrook-
           Overlook, Maybrook-Evergreen, Maybrook – Silver Oaks (New Castle)

      2) Thomas Lowden: Murrysville, Cheswick, Maybrook-Briarcliff, Monroeville,
         Maybrook-Latrobe

      3) David Ferraro: South Hills, Maybrook-Kade, North Strabane Retirement Village,
         North Strabane Rehabilitation and Wellness, Mt. Lebanon

   Offer of Proof: The following witnesses, who at all times relevant hereto, were corporate
   representatives, regional consultants and/or senior level regional management, have first-
   hand knowledge regarding the facts and circumstances of Defendant Sam Halper’s 203(d)
   status and the joint employment status of Defendants, and are expected to testify, at trial,
   that:

      1) Facility Defendants are limited liability corporations, duly organized under the laws
         of the Commonwealth of Pennsylvania.

      2) Facility Defendants are residential skilled nursing, rehabilitation, and assisted living
         facilities that engaged in the care of the sick, aged, or mentally ill who reside on the
         premises throughout western Pennsylvania.

      3) Facility Defendants are staffed by centralized clinicians and operational support staff
         that provide direct care or coordination services within the large, integrated network
         of Facility Defendants.

      4) Defendants have been an enterprise engaged in commerce or in the production of
         goods for commerce.

      5) Defendants have had an annual gross volume of sales made or business done in an
         amount not less than $500,000.00 during the relevant period of period.

      6) Corporate Defendants are commonly owned and have an overlap in ownership.

      7) Corporate Defendants have overlapping officers, directors, executive, and managers,
         including but not limited to: Defendant Sam Halper, Ben Halper, Ephram Lahasky,
         David Gast, Benjamin Lando, Joshua Farkovits, Benjamin Landa, Abraham Peckham,
         John Reichard, Doug Hoffman, David Ferraro, and Margaret Zapor.



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      8) Defendants employ and/or employed the individuals listed in Second Revised
         Schedule A as hourly workers.

      9) Defendants hired Multi-Facility (PRN or “as needed”) employees for the express
         purpose of having them work at two or more Facility Defendants.

      10) Defendants Sam Halper and CHMS Group exercise significant authority and control
          over Facility Defendants.

      11) Facility Defendants’ payroll functions are managed and controlled by Defendant
          CHMS Group.

      12) Defendant CHMS Group was formed for the purpose of managing and providing
          Facility Defendants various administrative services such as accounting, payroll, A/R,
          and A/P.

      13) There is no executed written contract or operating agreement between CHMS Group
          and Facility Defendants.

      14) Defendant CHMS Group is responsible for implementing payroll policies and
          practices at each Facility Defendant.

      15) Defendant CHMS Group is the primary custodian of payroll and time records for
          each Facility Defendant.

      16) Defendant CHMS Group has been responsible for interpreting the Collective
          Bargaining Agreements (“CBAs”) and employee handbooks when issues arose at
          each Facility Defendant.

3. CHMS Group 30(b)(6) Representative:
   Witness: Abraham Peckman

   Offer of Proof: The following witness, who at all times relevant hereto, was a corporate
   representative of Defendant CHMS Group, has first-hand knowledge regarding Defendant
   CHMS Group’s relationship with the Facility Defendants and Sam Halper and is expected to
   testify at trial, that:
       1) Defendant CHMS Group was formed for the purpose of managing and providing
            Facility Defendants various administrative services such as accounting, payroll, A/R,
            and A/P.

      1. There is no executed written contract or operating agreement between CHMS Group
         and Facility Defendants.

      2. Defendant CHMS Group is responsible for implementing payroll policies and
         practices at each Facility Defendant, including ensuring employees are paid in
         accordance with the Facility Defendants’ pay rules.

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       3. Defendant CHMS Group is the primary custodian of payroll and time records for
          each Facility Defendant.

       4. Defendant CHMS Group has been responsible for interpreting the CBAs and
          employee handbooks when issues arose at each Facility Defendant.

       5. CHMS Group reviewed each Facility Defendant payroll before it was finalized and
          conducted audits, when necessary, to ensure that the payroll pay rules, created
          according to each Facility Defendant’s CBA and/or handbook, were appropriately
          implemented.

       6. Defendant CHMS Group is intimately involved in operations beyond a third party
          payroll processing company like ADP.

       7. From at least January 2015 to at least January 2019, Defendant CHMS Group not
          only maintained exclusive payroll and accounting responsibility for Facility
          Defendants, but also had a division that that was responsible for managing and
          overseeing the day-to-day operations of the Facility Defendants through
          “Consultants.”

       8. Defendant CHMS Group reorganized their business structure and separated the
          consultant division from the company to form a separate, subsidiary entity: Western
          Pennsylvania Consultants (“WPAC”).

       9. Defendant CHMS Group regularly consults with Defendant Sam Halper on the terms
          and conditions for all Facility Defendant CBAs and employee handbooks, which
          collectively govern all compensation policies, disciplinary practices, and other
          conditions of employment at Facility Defendants.

3. Sam Halper
   Offer of Proof: Defendant Halper, at all times relevant hereto, has been the CEO and held an
   ownership interest in Defendant CHMS Group and the Facility Defendants. Defendant
   Halper has personal, first-hand knowledge regarding Defendants CHMS Group’s and the
   Facility Defendants’ business operations and compensation policies and practices, the
   organizational structure of the entities, the wages Defendants paid to employees, and the
   decision to pay employees an amount less than the overtime premium rate for hours worked
   over 40 in a workweek. The witness may testify regarding his significant operational control
   over the functions of the Facility Defendants that led to the violations of the FLSA and
   Defendants’ unified operations.

4. David Gast
   Offer of Proof: David Gast at all times relevant hereto, has held an ownership interest in
   Defendant CHMS Group and the Facility Defendants. Mr. Gast may testify about Defendant
   Halper’s operational control, as CEO and owner, over Defendant CHMS Group and the
   Facility Defendants. Additionally, Mr. Gast may testify about Defendants’ business

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   operations and compensation policies and practices, the wages Defendants paid to
   employees, the organizational structure of the entities, and the decision to pay employees an
   amount less than the overtime premium rate for hours worked over 40 in a workweek.

5. Ephram M. Lahasky
   Offer of Proof: Ephram M. Lahasky at all times relevant hereto, has held an ownership
   interest in Defendant CHMS Group and the Facility Defendants. Mr. Lahasky may testify
   about Defendant Halper’s operational control, as CEO and owner, over Defendant CHMS
   Group and the Facility Defendants. Additionally, Mr. Lahasky may testify about Defendants’
   business operations and compensation policies and practices, the organizational structure of
   the entities, the wages Defendants paid to employees, and the decision to pay employees an
   amount less than the overtime premium rate for hours worked over 40 in a workweek.

6. Joshua Farkovits
   Offer of Proof: Joshua Farkovits at all times relevant hereto, has held an ownership interest in
   Defendant CHMS Group and the Facility Defendants. Mr. Farkovits may testify about
   Defendant Halper’s operational control, as CEO and owner, over Defendant CHMS Group
   and the Facility Defendants. Additionally, Mr. Farkovits may testify about Defendants’
   business operations and compensation policies and practices, the organizational structure of
   the entities, the wages Defendants paid to employees, and the decision to pay employees an
   amount less than the overtime premium rate for hours worked over 40 in a workweek.

7. Benjamin Landa
   Offer of Proof: Benjamin Landa at all times relevant hereto, has held an ownership interest in
   Defendant CHMS Group and the Facility Defendants. Mr. Landa may testify about
   Defendant Halper’s operational control, as CEO and owner, over Defendant CHMS Group
   and the Facility Defendants. Additionally, Mr. Landa may testify about Defendants’ business
   operations and compensation policies and practices, the wages Defendants paid to
   employees, the organizational structure of the entities, and the decision to pay employees an
   amount less than the overtime premium rate for hours worked over 40 in a workweek.

8. Mendy Gendel
   Offer of Proof: Mendy Gendel at all times relevant hereto, was the Payroll Manager at
   Defendant CHMS Group. Mr. Gendel may testify about Defendants’ business operations, the
   organizational structure of the entities, compensation policies and practices, the wages
   Defendants paid to employees, and the decision to pay employees an amount less than the
   overtime premium rate for hours worked over 40 in a workweek. The witness may testify
   regarding his significant involvement and interactions with Defendant Halper, and their
   support of Defendants’ unified operations.

9. Margaret Zapor
   Offer of Proof: Margaret Zapor at all times relevant hereto, worked on behalf of Defendant
   CHMS Group, including as a Regional Administrator. Ms. Zapor has personal, first-hand
   knowledge regarding Defendants’ business operations and compensation policies and
   practices, the organizational structure of the entities, the wages Defendants paid to
   employees, and the decision to pay employees an amount less than the overtime premium

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   rate for hours worked over 40 in a workweek. The witness may testify regarding her
   significant involvement and interactions with Defendant Halper, and their support of
   Defendants’ unified operations.

10. Employee Witnesses
      A. Management
          Witnesses
             1. Jacqueline Prosperi                               23. Harry Ross
             2. Jennifer Rhodes                                   24. Ashley Adams
             3. Kris Hoke                                         25. Deborah Greenfield
             4. Lloyd Berkey                                      26. Helen Paiano
             5. Lynn Desmet                                       27. Rebecca Schrader
             6. Caroline Bercosky                                 28. Roberta Bauer
             7. Maribeth Tarpley                                  29. Robin Tyler
             8. Sean Richards                                     30. Ryan Sullivan
             9. Mark Nord                                         31. Virginia Latsko
             10. Matthew Morris                                   32. Lisa Baldi
             11. Michelle Kunselman                               33. Megan Burkhart
             12. Robert Fred                                      34. Patrica Gallagher
             13. Ronald Scott Jordan                              35. Jason Elmer
             14. Steven Hausman                                   36. Joseph Frank
             15. Karen Flickinger                                 37. Mary Zeigler
             16. Cassandra Legge                                  38. Summer Turley
             17. Tracey King                                      39. Tyler Rutherford
             18. Tzvi Hefter                                      40. Amy Ankey
             19. Cody Hill                                        41. Kimberly Rubin
             20. Dana Welsh                                       42. Tina Habovick
             21. Rebeka Lloyd                                     43. Joan Barnyak-Cox
             22. Susan Bradley

      Offer of Proof: The following witness, who at all times relevant hereto, were employed
      by Defendants as facility level management and have first-hand knowledge of
      Defendants’ centralized operations, practices, and procedures and Defendant Sam
      Halper’s significant operational control and involvement with each Facility Defendant.
      These roles included: Admissions Directors; Business Office Managers; Human
      Resource Directors; MDS Coordinators (RNAC); Medical Records Directors; Human
      Resources Personnel; RN Educators; Social Work Directors; Assistant Directors of
      Nursing; Assistant Administrators; Dietary Supervisors; Directors of Activities; Directors
      of Nursing; Housekeeping Supervisors; Maintenance Supervisors; Rehabilitation
      Coordinators (Director of Rehab); RN Supervisors; and Unit Directors. These witnesses
      will testify at trial that:

      1) Defendants operate nursing and rehabilitation long-term care facilities throughout
      western Pennsylvania through a large, associated network of separately established LLCs
      related through unified operation, common control, and ownership.

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2) Defendants regularly act in concert with one another, by sharing control over facility
operations, human resource management, and payroll/accounting functions.

3) Facility Defendants are commonly owned and have centralization of ownership and
unified operation through Defendants Sam Halper and CHMS.

4) Corporate Defendants have overlapping officers, directors, executive, and managers,
including but not limited to: Defendant Sam Halper, Ben Halper, Ephram Lahasky, David
Gast, Benjamin Lando, Joshua Farkovits, Benjamin Landa, Abraham Peckham, John
Reichard, Doug Hoffman, David Ferraro, and Margaret Zapor.

5) Defendant Halper has an ownership interest in each of the Facility Defendants and
Defendant CHMS Group.

6) Defendant Halper serves as the CEO for each Facility Defendant.

7) Defendant Halper consistently exercises significant operational control over Defendant
CHMS Group and the Facility Defendants.

8) Defendant Halper operated and managed the day-to-day operations of Defendants,
including, but not limited to, hiring and firing employees, setting the rate of payment, and
setting discipline policies.

9) In consultation with, and at the direction of Defendants CHMS Group and Defendant
Halper, Facility Defendants plan and host meetings and trainings that employees are
required to attend.

10) Facility Defendants share supplies and equipment with one another.

11) Facility Defendants’ computer software and telephone systems are interconnected.

12) Defendants regularly discuss balancing patient census with staffing needs at the
facilities, including coordinating resident referrals and coordinating personnel staffing.

13) Defendants CHMS Group and Sam Halper identify personnel needs across Facility
Defendants, and offer positions to employees without traditional formalities, such as
requiring an application, performing interviews, or requiring the completion of new hire
paperwork, or facility orientations.

14) Facility Defendants share common, and in certain circumstances, identical and/or
overlapping management personnel.

15) Defendants hired Multi-Facility (PRN or “as needed”) employees for the express
purpose of having them work at two or more Facility Defendants.



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16) Multi-Facility employees’ schedules are coordinated by Defendant CHMS Group’s
regional representatives, who oversee the operations at each Facility Defendant.

17) From at least January 2015 to at least January 2019, Defendant CHMS Group not
only maintained exclusive payroll and accounting responsibility for the Facility
Defendants, but also had a division that that was responsible for managing and
overseeing the day-to-day operations of the Facility Defendants through “Consultants.”

18) Defendant CHMS Group’s regional consulting team served as the bridge between the
Facility Defendants and actively supported and required communications between each
facility’s administrators and department heads to ensure successful operations of the
company as a whole.

19) In January 2019, Defendant CHMS Group reorganized their business structure and
separated the consultant division from the company to form a separate, subsidiary entity:
- Western Pennsylvania Consultants (“WPAC”).

20) Despite the separation of the consulting division, the Consultants have and continue
to support and manage the day- to-day operations of the Facility Defendants, including
determining the rate and method of pay for employees, hiring and firing employees,
monitoring staffing levels, formulating recruitment plans, overseeing facility
relationships with contractors and outside entities, training and supervising employees,
developing and promulgating performance standards, developing and directing work
practices and policies, and developing and directing the implementation of payroll
policies.

21) Facility Defendants have no autonomy to control the terms and scope their
relationships with Defendant CHMS Group; only Defendant Sam Halper could amend
the terms and scope of such relationships.

22) Defendants Sam Halper and CHMS Group negotiated and developed all Facility
Defendant CBAs and employee handbooks and determined the final interpretations of
their provisions after the acquisitions and on a continual basis.

23) Defendant CHMS Group has been responsible for interpreting the CBAs and
employee handbooks when issues arose at each Facility Defendant.

24) Defendants Sam Halper and CHMS Group developed, implemented, and enforced the
payroll policies and procedures that dictated how, when, and how much Defendants
would pay employees at each Facility Defendant.

25) Defendants CHMS and Halper manage and control all payroll functions and human
resource decisions regarding health benefits, PTO time, FMLA, and rates of pay.

26) Defendant CHMS Group retains sole control of various payroll and employment
records for the Facility Defendants, including making uniform final decisions regarding

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employee compensation and benefits.

27) When disputes arise between the Facility Defendants and Defendant CHMS Group
over interpretations of the CBAs and/or the employee handbooks, Defendant CHMS
Group’s interpretation prevailed; only Defendant Sam Halper could override Defendant
CHMS Group’s interpretations.

28) Facility Defendant supervisors and assistant supervisors do not have the authority or
responsibility to enforce any policies related to pay or hours worked.

29) Facility Defendant supervisor and assistant supervisors do not have final decision-
making or the independent authority to discipline employees or set pay rates.

30) Facility Defendant Activities Directors/Director of Activities, RN Educators, Dietary
Supervisors, Human Resource Personnel do not have the independent authority to hire or
fire employees or make other changes to employment status.

31) Due to the amount of oversight by Defendants CHMS Group and Sam Halper, there
is little ability for Facility Defendant Director of Social Services/Social Work Directors,
Admissions Directors, Human Resource Directors, Human Resource Personnel, MDS
Coordinators (RNAC), Medical Records Directors, Activities Directors, Business Office
Managers to exercise discretion or independent judgment in the performance of their
duties or oversight of their departments.

32) Facility Defendant Admissions Directors, Human Resource Directors, Human
Resource Personnel, MDS Coordinators (RNAC), Medical Records Directors, Activities
Directors, Business Office Managers, RN Educators, Directors of Nursing Assistant
Directors of Nursing, Assistant Administrators, Dietary Supervisors, Housekeeping
Supervisors, Maintenance Supervisors, RN Supervisors, Unit Directors do not have
authority to set corporate level policy regarding any business function.

33) Facility Defendant Director of Social Services, Social Work Directors, Admissions
Directors, Human Resource Directors, Human Resource Personnel, Medical Records
Director, Activities Directors, RN Educators, Directors of Nursing Assistant Directors of
Nursing, Directors of Nursing, RN Supervisors, Unit Directors do not oversee a budget
and are required to seek approval for purchases.

34) Facility Defendant Human Resource Directors, Human Resource Personnel, Business
Office Manager, RN Educators, Directors of Nursing Assistant Directors of Nursing,
Assistant Administrators, Dietary Supervisors, Directors of Nursing, Housekeeping
Supervisors, Maintenance Supervisors, RN Supervisors, Unit Directors are unable to
commit Defendants to any contracts without express oversight and approval by
Defendants CHMS Group and Sam Halper.

35) Facility Defendant Human Resource Directors, Human Resource Personnel, Business
Office Managers, RN Educators, Directors of Nursing Assistant Directors of Nursing,

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Assistant Administrators, Directors of Nursing, Housekeeping Supervisors and
Maintenance Supervisors, RN Supervisors, Unit Directors are unable to correct time
punches without the oversight and approval of Defendant CHMS Group.

B. Clinicians and Operational/Administrative Support
   Witnesses:

   1. Danna Spears                                     40. Theresa Dambik
   2. Delanise Pasley                                  41. Gabriela Oglietti
   3. Dwayne Rozier                                    42. Jessica Taylor
   4. James Van Tassel                                 43. Karen Moreland
   5. Alan Harrison                                    44. Keonda Dunn
   6. Timothy Erson                                    45. Nicole Bates
   7. Kenna Myles                                      46. Karen Chaney
   8. Brittany Bass                                    47. Megan Jordan
   9. Alexis Abrams                                    48. Gene Howard
   10. Carla Falbo                                     49. Mark Steban
   11. Connor Brown                                    50. Kelly Sanders
   12. Ranisha Tillis                                  51. Michele Ellis
   13. Tiffany Aley (Alney)                            52. Michelle Moore
   14. Zentoria Nelson                                 53. Shannon Rederer
   15. Cortney Winston                                 54. William Ostrowski
   16. Danielle Kleine                                 55. Carey Paone
   17. Delanise Pasley                                 56. James Vournous
   18. Jessica Gleghorn                                57. Gule Kahn
   19. Melissa Whitt                                   58. Melanie Adley
   20. Shemaiah Fleming
   21. Tiajan Cleckley
   22. Mark Vollmer Jr.
   23. Barb McCullough
   24. Darcilynn Maksin
   25. Elizabeth Freed
   26. Gary Jones
   27. Jeremy Probst
   28. Kristen Gray
   29. Mary Beck
   30. Shannon Laich
   31. Debbie Keil
   32. Joan Sexton
   33. Michael Mazon
   34. Theodore Jusczak
   35. Julie Inks
   36. Mary Beth Turner
   37. Andrea Stauffer
   38. Ashton Kelley
   39. Melissa Thompson

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Offer of Proof: The following witnesses, who at all times relevant hereto, were employed
by the Facility Defendants have first-hand knowledge of Defendants’ centralized
operations, practices, and procedures and Defendant Sam Halper’s significant operational
control and involvement with each Facility Defendant. These roles included: registered
nurses, licensed practical nurses, certified nursing assistants, maintenance staff,
housekeeping and laundry staff, dietary aides, physical therapists, speech pathologists,
social service coordinators, and administrative staff (e.g., receptionists, billing, payroll).
These witnesses will testify at trial that:

1) Defendants CHMS Group and Sam Halper identify personnel needs across Facility
   Defendants, and offer positions to employees without traditional formalities, such as
   requiring an application, performing interviews, or requiring the completion of new
   hire paperwork, or facility orientations.

2) Defendants treated clinicians and operational staff as a common pool available to all
   Facility Defendants, who work at multiple Facility Defendants during the relevant
   period of investigation.

3) Defendants permitted employees to transfer from one Facility Defendant to another,
   sometimes retaining the same job title and duties, other times transferring into new
   roles.

4) Defendants CHMS Group and Sam Halper retained and exercised authority to hire
   and fire Facility Defendants’ employees by, among other things: (a) identifying
   Defendants’ personnel needs; (b) extending formal and informal offers of
   employment; (c) retaining final approval over proposed hires; (d) setting employee
   compensation, including rates of pay, and; (e) determining employee classifications
   under the Act.

5) Defendants CHMS Group and Sam Halper promulgated work rules, assignments, and
   conditions of employment. They repeatedly overruled or preempted day-to-day
   decisions by the witnesses and other Facility Defendant management employees,
   which prevented them from exercising discretion or independent judgment in their
   assigned roles. This control extended to, among other things, the Facility Defendants’
   ability to: (a) conduct business functions; (b) create operational budgets or make
   related purchases without prior approval; (c) commit to contracts; (d) correct
   employee time records; (e) authorize supplemental compensation to employees
   working additional hours; (f) make and implement human resource decisions,
   including those concerning health benefits, PTO, and FMLA leave; (g) implement
   payroll policies and practices; (h) administer payroll; (i) correct payroll records; (j)
   perform other administrative functions, such as accounting, accounts receivable, and
   accounts payable, and; (k) set and interpret corporate policy, such as that contained in
   CBAs and employee handbooks.




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       6) Defendants CHMS Group and Sam Halper exerted significant control over the
          Facility Defendants’ daily operations by, among other things: (a) maintaining regular
          and close supervision of the Facility Defendants’ operations; (b) coordinating
          schedules for employees who simultaneously worked for multiple Facility
          Defendants; (c) overriding or preempting routine decisions by Facility Defendant
          personnel; (d) maintaining custody of, and limiting access to, the Facility Defendants’
          time and payroll records, and; (e) overseeing adjustments to time records and
          preventing the Facility Defendants from making any such adjustments without
          approval.

DOL reserves the right to call:
     1. Any witnesses identified by Defendants.

       2. Any witnesses needed for rebuttal.



                                            Respectfully Submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that a correct copy of the foregoing Exhibit List, was filed on October 27,
2021, electronically and is available for viewing and downloading via the ECF system for the
United States District Court for the Western District of Pennsylvania. I further certify that a copy
of the same was served on counsel for Defendants as listed below via the ECF system:

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